Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 1 of 8

Exhibit 10
Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 2 of 8

Gizzi, Paul

 

eens en
From: John Hanamirian <jmh@hanamirian.com>
Sent: Wednesday, July 17, 2019 10:35 AM
To: Ellenbogen, Bennett
Ce: Tepperman, Wendy B.; Gizzi, Paul
Subject: RE: American River Bankshares (NY-09615)

 

 

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recognize the sender and know the content is safe.

 

Ben:

10.

11.

12.

On May 8, 2018, your Office issued a Subpoena for my client to “give us documents and provide sworn
testimony” in the matter of American River Bank Shares;

On a parallel basis, the United States Attorneys Office on behalf of the FBI sought to compel my client's
testimony in the matter of American River Bank Shares;

In response to both Offices, my client produced thousands of pages of documents;

In further response to both your Office and the United States Attorneys’ Office, my client responded to the
effort to compel his oral testimony with an offer of proffer, which both your Office and the Untied States
Attorneys’ Office accepted and each provided their form of proffer agreement for execution;

On August 21, 2018, my client provided his proffer pursuant to the terms of those separate executed Proffer
Agreements with your Office and the United States Attorneys’ Office and was interviewed for approximately 3
hours in Newark NJ;

You participated fully in the Proffer questioning and my client responded to each of your questions;

After the Proffer session, you followed up via email and telephone with additional questions and requests for
further documentation and my client responded;

On May 15, 2019, your Office again issued a Subpoena in the matter of American River Banks Shares, this time
for oral testimony only and accompanying the Subpoena were Forms 1662;

In advance of what we understood would be “making a record of the Proffer testimony”, we tentatively agreed
to respond to the May 15, 2019 Subpoena;

I then sent an email seeking to confirm that the 2018 Proffer Agreement terms remained in place for this
anticipated further oral testimony;

You advised that was not the case, but rather that the Proffer was complete and this is an independent
Subpoena requiring an independent response; and

You further advised that if my client intended to assert the S'* Amendment “privilege”, you would like to know
in advance.

My client is not yet ready to assert any 5 Amendment “right” or otherwise refuse to provide further oral testimony, but
again would like an understanding of this procedural process and why it is that you issued another Subpoena in the
same matter for which we provided production and oral testimony pursuant to the terms of a Proffer Agreement nearly
a year ago?
 

Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 3 of 8

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From: John Hanamirian

Sent: Monday, July 15, 2019 4:58 PM

To: Ellenbogen, Bennett

Ce: Tepperman, Wendy B. ; Gizzi, Paul

Subject: Re: American River Bankshares (NY-09615)

I've been quiet as | am continually educated about process, but respectfully, | know what I'm doing after 30 years. |
know what and why I'm asking. I'll discuss with my client.

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jmh@hanamirian.com

On Mon, Jul 15, 2019 at 4:49 PM -0400, "Ellenbogen, Bennett" <EllenbogenB@SEC.GOV> wrote:

John:

SEC staff, pursuant to a Formal Order of Investigation, is empowered to conduct non-public and confidential
investigations. The SEC does not have “targets” in these investigations. The staff sent your client a subpoena for
testimony on May 15, 2019 which obligates your client to testify under oath before the Commission.

Testimony pursuant to an investigatory subpoena is distinct from a proffer. The scope and use of proffered information
is subject to the proffer agreement, while the scope and use, among other things, of investigative testimony is outlined
in the Form 1662.
Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 4 of 8

Ben

Bennett Ellenbogen
S.E.C.

 

From: John Hanamirian [mailto:jimh@hanamirian.com]
Sent: Monday, July 15, 2019 4:25 PM

To: Ellenbogen, Bennett

Cc: Tepperman, Wendy B.; Gizzi, Paul

Subject: RE: American River Bankshares (NY-09615)

 

 

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It is the same Subpoena issued last year and we did a Proffer with you and the United States Attorneys’ Office. So what
are we doing now? We responded with the Proffer last go-around. If he is the subject or a target of an investigation at
any level, given the history, we need to know that.

HANAMIRIAN
LAWFIRM

MAIN STREET TO WALL STREET

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From: Ellenbogen, Bennett <EllenbogenB@SEC.GOV>
Sent: Monday, July 15, 2019 4:16 PM
To: John Hanamirian <jmh@hanamirian.com>

Cc: Tepperman, Wendy B. <TeppermanW@SEC.GOVs=; Gizzi, Paul <GizziP@SEC.GOV>
Subject: RE: American River Bankshares (NY-09615)

John:
lam not exactly sure what you are asking. The testimony will be under oath and transcribed. | have attached another
copy of the Supplemental Information Form 1662 | discussed in my prior email.

Ben
Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 5of 8

Bennett Ellenbogen
S.E.C.

 

 

From: John Hanamirian [mailto:;mh@hanamirian.com]
Sent: Monday, July 15, 2019 4:12 PM

To: Ellenbogen, Bennett

Ce: Tepperman, Wendy B.; Gizzi, Paul

Subject: RE: American River Bankshares (NY-09615)

 

 

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recognize the sender and know the content is safe.

 

 

Ben:

| understand, but a Subpoena was issued in advance of the 2018 Proffer as well, so | understood that you were seeking
to make a record. Since that is not the case, | will discuss it further with my client.

HANAMIRIAN
LAWFIRM

MAIN STREET TO WALL STREET

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From: Ellenbogen, Bennett <EllenbogenB@SEC.GOV>

Sent: Monday, July 15, 2019 4:07 PM

To: John Hanamirian <jmh@hanamirian.com>

Cc: Tepperman, Wendy B. <TeppermanW@SEC.GOV>; Gizzi, Paul <GizziP@SEC.GOV>
Subject: American River Bankshares (NY-09615)

John:

Mr. O’Brien’s statements made during the August 21, 2018 proffer were covered by the terms of the July 12, 2018
proffer agreement; and, as described therein, the agreement only covers statements made by Mr. O’Brien during his
proffer. | refer you to the proffer agreement for its full terms and conditions.

Mr. O’Brien was subpoenaed to provide testimony under oath. As |am sure you are aware, among other things, a
witness may refuse to answer a questions pursuant to the Fifth Amendment privilege against self-incrimination. If Mr.
O’Brien intends to assert this privilege, | would appreciate you letting me know in advance. | refer you to the subpoena

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Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 6 of 8

and the Supplemental Information Form 1662 attached to his subpoena for a more detailed description of a witnesses’
rights and obligations during his or her investigative testimony.

Ben

Bennett Ellenbogen
S.E.C.

 

From: John Hanamirian [mailto:imh@hanamirian.com)
Sent: Wednesday, July 10, 2019 2:01 PM

To: Ellenbogen, Bennett; John Hanamirian

Subject: RE: American River Bankshares (NY-09615)

 

 

 

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recognize the sender and know the content is safe.

 

 

Ben:

| wanted to confirm that the oral testimony James may provide pursuant to the most recently issued Subpoena {May
15, 2019); (1) is for the purpose of having a record of the oral testimony previously provided pursuant to the attached
Proffer and the Subpoena that preceded that Proffer; and (2) that we each continue under the terms of that Proffer.

HANAMIRIAN
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jmh@hanamirian.com
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From: Ellenbogen, Bennett <EllenbogenB@SEC.GOV>
Sent: Thursday, July 12, 2018 5:03 PM

To: John Hanamirian <JMH@hanamirian.com>
Subject: RE: American River Bankshares (NY-09615)

John:
Please see attached.
 

 

Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 7 of 8

Ben

Bennett Ellenbogen
S.E.C.

 

From: John Hanamirian [mailto.JMH@hanamirian.com]
Sent: Tuesday, July 10, 2018 5:54 PM

To: Ellenbogen, Bennett

Subject: RE: American River Bankshares (NY-09615)

Ben:
We can discuss the below when we provide the balance of the production. As | had said in the accompanying

correspondence to what has been provided to date, the electronic discovery is not yet fully produced. In the vein of
follow-up, | do not have a Proffer Letter. You had advised a Letter would be forthcoming when a date was set.

HANAMIRIAN
LAWFIRM

MAIN STREET TO WALL STREET

 

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jmh@hanamirian.com
Licensed in PA, NJ and NY.

From: Ellenbogen, Bennett [mailto:EllenbogenB@SEC.GOV]
Sent: Monday, July 09, 2018 11:15 AM

To: John Hanamirian <JMH@hanamirian.com>
Subject: American River Bankshares (NY-09615)

Dear Mr. Hanamirian:

Areview of the covering letter accompanying Mr. O’Brien’s document production, and a targeted review of the
documents, indicates a number of likely deficiencies in the production:

A. No documents responsive to request number 3 (“All documents reflecting any communications——
including, without limitation, emails, instant messages, and text messages, whether stored on a computer,
mobile device, server or elsewhere—between you and any other person relating to the Brokerage Firms
during the Relevant Period”) have been produced.
 

Case 1:19-mc-00468-KPF Document 3-10 Filed 10/18/19 Page 8 of 8

Can you confirm that in fact that Mr. O’Brien has no documents responsive to document request number
three in his possession, custody, or control or, produce all responsive documents immediately. Conversely,
if these documents have been provided, please provide the bates numbers for the documents that are
responsive to document request number 3.

B. No documents have been produced that identify any email addresses used by Mr. O’Brien during the
Relevant Period (document request number 4).

Please provide this information or confirm that Mr. O’Brien did not have any email addresses during the
Relevant Period. Conversely, if these documents have been provided, please provide the bates numbers for
the documents that are responsive to document request number 4.

C. No documents reflecting telephone calls or text messages (document request number 6) appear to have
been produced.

‘Please provide this information immediately or confirm that Mr. O’Brien did not make any telephone calls
and/or text messages during the Relevant Period. Conversely, if these documents have been provided,
please provide the bates numbers for the documents that are responsive to document request number 6.

D. No documents reflecting any software programs, algorithms or hot keys used in connection with the trading
during (document request number 7) appear to have been produced.

Please provide this information immediately or confirm that no software programs, algorithms or hot keys
were used in the trading during the Relevant Period. Conversely, if these documents have been provided,
please provide the bates numbers for the documents that are responsive to document request number 7.

In light of the above, please immediately produce all responsive documents, or confirm that all responsive

documents in Mr. O’Brien’s possession, custody, or control, have been produced.

Thank you,

Bennett Ellenbogen

S.E.C.
